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 6   Attorneys for Plaintiff
     MIRIAM MALDONADO
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     MIRIAM MALDONADO,                                 Case No.: 2:20-cv-02358-JFW (GJSx)
11
12                Plaintiff,
13         vs.                                         NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
14                                                     WITH PREJUDICE
     DORA ALFARO D/B/A RESTAURANT
15   SPAIN; HSU PROPERTY
16   MANAGEMENT, L.P.; and DOES 1 to
     10,
17
18                Defendants.
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20
           PLEASE TAKE NOTICE that MIRIAM MALDONADO
21
      (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
22
     voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
23
     Procedure Rule 41(a)(1) which provides in relevant part:
24
           (a) Voluntary Dismissal.
25
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                         and any applicable federal statute, the plaintiff may dismiss an action
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28
                         without a court order by filing:


                                                   1
          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:20-cv-02358-JFW-GJS Document 9 Filed 08/06/20 Page 2 of 2 Page ID #:45




 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: August 6, 2020          SO. CAL. EQUAL ACCESS GROUP
 8
 9                                  By:      /s/ Jason J. Kim
10                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
